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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-01129-NYW-SKC

   ERIC COOMER, PH.D.,

          Plaintiff,

   v.

   MICHAEL J. LINDELL, FRANKSPEECH
   LLC, AND MY PILLOW, INC.,

          Defendants.


                             MOTION TO WITHDRAW AS COUNSEL


          The undersigned attorneys, Andrew D. Parker, Jesse H. Kibort, Ryan P. Malone, and

   Abraham S. Kaplan, for good cause and pursuant to D.C.COLO.LAttyR 5(b), hereby submit this

   Motion to Withdraw as Counsel for Defendants Michael J. Lindell, Frankspeech LLC, and My

   Pillow, Inc. (collectively “Defendants”). The undersigned attorneys state as follows in support of

   this Motion:

          1.      The undersigned have appeared in this action as counsel for Defendants. (ECF Nos.

   13, 16, 17, 23).

          2.      The undersigned are attorneys with the law firm of Parker Daniels Kibort LLC

   (“PDK”). (Parker Decl., ¶¶ 1-2).

          3.      In April 2022, PDK was retained by Defendants Michael J. Lindell (“Lindell”), My

   Pillow, Inc. (“MyPillow”), and Frankspeech LLC (“Frankspeech”) to defend against all allegations

   in the above-captioned case. (Id., ¶ 3).

          4.      At the time of PDK’s retention, PDK had also been retained by Lindell and by

   MyPillow to defend against allegations of defamation in Smartmatic USA Corp., et al. v. Lindell,
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   et al., No. 22-cv-00098-WMW-JFD, venued in the District of Minnesota, and in US Dominion,

   Inc., et al. v. My Pillow, Inc., et al., No. 1:21-cv-00445-CJN, venued in the District of Columbia.

   (Id., ¶ 4).

           5.       The Plaintiffs in the Smartmatic and Dominion matters have alleged over $1 billion

   in damages against Lindell and MyPillow in each matter. (Id., ¶ 5).

           6.       The above-captioned matter along with the Smartmatic and Dominion matters will

   be collectively referred to as the “Litigations.” (Id., ¶ 6).

           7.       Since the date of PDK’s retention, PDK has diligently and aggressively defended

   all Defendants in the Litigations. (Id., ¶ 7).

           8.       PDK’s work on behalf of all Defendants in the Litigations has included the

   following:

           a. collecting and producing hundreds of thousands of pages of documents using the

                 services of various contractors, including ESI discovery platforms;

           b. receiving production of millions of pages of documents from the various plaintiffs and

                 from non-parties, incurring costs associated with hosting the documents on litigation

                 management software platforms, and paying contract document reviewers as well as

                 its own attorneys to review the documents;

           c. extensive motion practice;

           d. defending many hours of depositions for Defendants and taking many hours of

                 deposition testimony of opposing parties and non-parties;

           e. retaining and working with experts to obtain important information about the issues in

                 the Litigations and to obtain expert reports in support of the Defendants’ defenses;

           f. communication with opposing counsel and non-party witnesses;



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          g. factual investigation and legal research regarding the issues in each of the Litigations;

                and

          h. many other litigation administration tasks and obligations.

          (Id., ¶ 8).

          9.          For the work PDK has completed on behalf of Defendants in the Litigations to this

   point, Defendants have incurred millions of dollars in fees and costs. (Id., ¶ 9).

          10.         Defendants regularly paid PDK in a timely manner (within 30 days of invoicing)

   all amounts owed for representation in the above-captioned case, up to the end of 2022. In 2023,

   Defendants’ payments began to slow. In addition, around this time, total litigation fees and costs

   in the Litigations dramatically increased. In May 2023 payments slowed to more than 60 days and

   began to be only partial payments. (Id., ¶ 10).

          11.         No payment has been made for PDK’s July 2023 and August 2023 invoices in the

   above-captioned case. A similar situation exists in the Dominion and Smartmatic cases. (Id., ¶ 11).

          12.         PDK has worked with Defendants over the past few months in hopes that

   Defendants would find a way to secure the financing to pay their debts to PDK and pay for PDK’s

   continued representation. (Id., ¶ 12).

          13.         Beginning in August 2023 and again in September 2023, PDK warned Defendants

   that if they did not pay the outstanding invoices and continue to pay new invoices as they came

   due, PDK would have to withdraw its representation of Defendants. Two relatively small payments

   were made in August 2023 and two relatively small payments were made in September 2023, but

   these were only a fraction of the total owed. (Id., ¶ 13).

          14.         During the week of September 25, 2023, PDK engaged in further discussions with

   Defendants concerning the debt. PDK again warned Defendants that PDK would have to withdraw



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   its representation if the outstanding invoices were not paid. On October 2, 2023, PDK was

   informed by Defendants that they are not able to get caught up with or make any payment on the

   large amount they owe in arrears nor pay for anywhere near the estimated expense of continuing

   to defend against the lawsuits going forward, including either the legal fees or litigation costs. (Id.,

   ¶ 14).

            15.    At this time, Defendants are in arrears millions of dollars to PDK. (Id., ¶ 15).

            16.    PDK is a small, 16-attorney litigation law firm in Minneapolis, MN. (Id., ¶ 16).

            17.    PDK cannot afford to carry this large of a debt nor to finance Defendants’ defense

   in the Litigations going forward. (Id., ¶ 17).

            18.    If forced to continue its representation in the above-captioned case, PDK would be

   required to fund all personnel and payroll costs, as well as the costs and fees associated with the

   remaining motion practice, document review, and depositions. These costs would of course be in

   addition to all costs associated with potential trial preparation and attendance in Colorado next

   year. (Id., ¶ 18).

            19.    Future fees and costs in the above-captioned case may amount to hundreds of

   thousands of dollars in addition to the millions of dollars already owed throughout the Litigations.

   (Id., ¶ 19).

            20.    Forcing PDK to continue funding Defendants’ defense in the above-captioned

   matter would place PDK in serious financial risk and could threaten the very existence of the firm.

   (Id., ¶ 20).

            21.    Defendants have been made fully aware of this filing by PDK. Defendants have

   indicated that they understand PDK’s position, do not object, and are in the process of finding new

   counsel. (Id., ¶ 21).



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           22.    Good cause exists under the circumstances described above to permit the

   undersigned attorneys to withdraw as counsel.

           23.    Pursuant to D.C.COLO.LAttyR 5(b), the undersigned attorneys have filed this

   Motion with the Court’s ECF system, which will electronically serve all counsel of record.

           24.    The undersigned attorneys further affirm that this Motion will be served on all

   Defendants in this action.

           25.    Defendant Lindell has been advised that he is responsible for complying with all

   court orders and time limitations under applicable rules. (Parker Decl., ¶ 22).

           26.    Defendants MyPillow, Inc. and Frankspeech LLC have been advised that these

   entities may not appear without counsel admitted to the bar of the U.S. District Court for the

   District of Colorado, and that absent prompt appearance of substitute counsel, pleadings and papers

   may be stricken, and default judgment or other sanctions may be imposed against these entities.

   (Id., ¶ 23).

                                            CONCLUSION

           For all reasons set forth above, the undersigned attorneys respectfully request that they be

   permitted to withdraw from this action and that their representation of Defendants Michael J.

   Lindell, Frankspeech LLC, and My Pillow, Inc.

                                 CERTIFICATE OF CONFERRAL

           PDK contacted Plaintiff’s counsel regarding this Motion via telephone on October 5, 2023.

   Plaintiff’s counsel stated they do not oppose our motion to withdraw to the extent that we are not

   requesting any deadlines to change.




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   DATED: October 5, 2023             PARKER DANIELS KIBORT LLC

                                      By: /s/ Andrew D. Parker
                                           Andrew D. Parker (MN Bar #195042)
                                           Jesse H. Kibort (MN Bar #328595)
                                           Ryan P. Malone (MN Bar #395795)
                                           Abraham S. Kaplan (MN Bar #399507)
                                           888 Colwell Building
                                           123 N. Third Street
                                           Minneapolis, MN 55401
                                           Telephone: (612) 355-4100
                                           parker@parkerdk.com
                                           kibort@parkerdk.com
                                           malone@parkerdk.com
                                           kaplan@parkerdk.com




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